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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                    Case No. 1:24-cv-23015-KMW

     MACK WELLS and MAURICE SYMONETTE,

                   Plaintiffs,

     v.

     U.S. BANK, N.A., et al.,

                   Defendants.
                                                         /

                    DEFENDANTS’ JOINT RESPONSE IN OPPOSITION TO
                     PLAINTIFFS’ NEW MOTION TO TRANSFER VENUE

           Defendants, U.S. Bank, N.A.1 (“U.S. Bank”); Juan Fernandez-Barquin, Clerk of the Court

 of the Eleventh Judicial Circuit and Comptroller of Miami-Dade County, Florida (the “Clerk”);

 United States District Judge Jose E. Martinez, Defendant United States Magistrate Judge Eduardo

 Sanchez, Defendant Official Court Reporter Mary Ann Casale, and Defendant Assistant United

 States Attorney Jonathan Bailyn (the “Federal Defendants”); and Judge Spencer Eig and Judge

 Vivianne Del Rio (the “State Defendants”) (collectively the “Defendants”), by and through their

 respective undersigned counsel, hereby file this response in opposition to Plaintiffs’ “Corrected

 Motion for Change of Venue of our Writ of Replevin from Dade County Courts and Dade County

 Federal Southern District Court to Pinellas County Court Florida Stat. Ch. 78.01 & 28 U.S.C. 1391

 Venue and 1404(a) f title 28 Rule 64 of the Federal Rules of Civil Procedure With Clearer

 Exhibits” (the “Corrected Motion”). (ECF No. 21.) The Defendants state as follows:



 1
  U.S. Bank has been incorrectly named in this action. The full and correct name of U.S. Bank is
 U.S. Bank National Association, as Trustee for Residential Asset Securities Corporation, Home
 Equity Mortgage Asset-Backed Pass-Through Certificates, Series 2005-AHL3.
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                                        I.    BACKGROUND

         Plaintiffs’ pleadings, to the degree they can be called such, amount to a request for writ of

 replevin filed in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade, Florida.

 (ECF No. 1-3.) It was filed by residents of Miami-Dade County, concerning real property located

 in Miami-Dade County, and naming defendants which, with the exception of U.S. Bank, are all

 residents of and/or located in Miami-Dade County. (ECF No. 1-3.) Additionally, Plaintiffs’

 allegations all appear to concern events and actions taking place in Miami, including primarily

 events occurring in state and federal litigation in Miami, such as the underlying foreclosure which

 is the source of this dispute. (Id.)

         This action was removed to this Court on August 8, 2024. (ECF No. 1.) Plaintiffs have

 now made four separate filings seeking to transfer this matter to a different court. The first three

 were filed on August 23, 2024 and August 27, 2024, with each apparently seeking to transfer this

 matter to “Pinellas County Court” (the “Original Motions”). (ECF Nos. 11, 12, 15.) In the Original

 Motions, Plaintiffs claimed a criminal conspiracy and provided a cut-off list of the entities and

 individuals allegedly involved in it. (ECF Nos. 11, 15.) Plaintiffs also noted prior recusals by

 state and federal judges, claiming that the current presiding judge must be recused as well, though

 they offered no reason for that conclusion. (ECF No. 12.) Plaintiffs then complained about actions

 by prior judges in prior cases to assert that is “why this case must have a change of venue to get a

 fair trial,” while grumbling about events in an underlying foreclosure before concluding, “One of

 the many reasons that we have to change venues is because there’s almost no judge who doesn’t

 have a conflict of interest.” (Id.)

         Multiple responses in opposition and joinders to those responses were filed. (ECF Nos.

 14, 18, 20.) For example, in its response, U.S. Bank noted that Plaintiffs’ Notice and Motions




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 made no reasonable attempt to satisfy any of the required elements for a transfer of venue, with

 nothing to suggest that this matter could have been heard in Pinellas County or anywhere other

 than Miami-Dade County, and with the Defendants opposing the transfer. (ECF No. 18, at 3-4.)

 Likewise, Plaintiffs offered no argument concerning convenience, connections to Pinellas County,

 or the interests of justice, besides an unsupported claim that the current presiding judge would

 need to be recused and an unsupportable suggestion that no judges in this Court would be able to

 hear the case. (Id. at 4-5.)

         Rather than file a reply in support of the Original Motions, Plaintiffs instead filed the

 Corrected Motion on September 6, 2024. (ECF Nos. 21, 21-1.) Though far more voluminous than

 the Original Motions, the Corrected Motion largely just repeats allegations of a conspiracy, fraud,

 claimed conflict of interest by other judges, and purported prior errors in underlying and related

 proceedings. The only relevant allegations concerning venue are: (1) Plaintiffs are now seeking a

 transfer to “TAMPA FEDERAL COURT” (ECF No. 21-1, at 3, 17, 18-19); (2) what they claim to

 be false news coverage concerning a shooting at the subject property has made the Plaintiffs look

 bad (Id. at 3); and (3) that Plaintiffs cannot receive a fair trial in any Miami or Broward court,

 asserting that a move to federal court in Tampa would “be in compliance with our inalienable

 rights, laws of the United States and state of Florida, Constitutions of both federal and state, and

 their oaths of office this is why we have this Complaint to the 11th Circuit Federal Chief Judge to

 investigate and hold them accountable who are violating the Law like all the other Judges who

 work together with the Banks to steal property under Color of Law,” (Id. at 18-19).

                                       II.     ARGUMENT

         Pursuant to 28 U.S.C. § 1404(a), “For the convenience of parties and witnesses, in the

 interest of justice, a district court may transfer any civil action to any other district or division




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 where it might have been brought or to any district or division to which all parties have consented.”

 Accordingly, “There are two requirements Plaintiff must meet to succeed in its Motion to Transfer

 under 28 U.S.C. § 1404. First, the cause can only be transferred to another district where the action

 might have been brought. Second, the transfer must be warranted on grounds of convenience and

 interests of justice.” Cordis Corp. v. Siemens-Pacesetter, 682 F.Supp. 1200, 1201 (S.D. Fla. 1987).

 An action might have been brought in a proposed transferee court if “(1) the court had jurisdiction

 over the subject matter of the action; (2) venue is proper there; and (3) the defendant is amenable

 to process issuing out of the transferee court.” Windmere Corp. v. Rimington Prods., Inc., 617

 F.Supp. 8, 10 (S.D. Fla. 1985). On the second prong, as expressed in Collectarius Financial, LLC

 v. Statebridge Company, LLC, No. 2:17-cv-687-FtM-38CM, 2018 WL 541086 (M.D. Fla. Jan. 12,

 2018):

          To make this decision, the court considers the following factors:

                 (1) the convenience of the witnesses; (2) the location of relevant
                 documents and the relative ease of access to sources of proof; (3)
                 the convenience of the parties; (4) the locus of operative facts; (5)
                 the availability of process to compel the attendance of unwilling
                 witnesses; (6) the relative means of the parties; (7) a forum’s
                 familiarity with the governing law; (8) the weight accorded a
                 plaintiff’s choice of forum; and (9) trial efficiency and the interests
                 of justice, based on the totality of the circumstances.

 Id. at *1 (quoting Manuel v. Convergys Corp., 430 F.3d 1132, 1135 n.1 (11th Cir. 2005); see also

 Hatten v. Taronis Techs., No. 8:19-cv-889-T-36TGW, 2019 WL 13262729, at *1 (M.D. Fla. June

 21, 2019).

          Just as with the Original Motions,2 Plaintiffs’ Corrected Motion makes no effort to satisfy

 these requirements, nor correct the deficiencies previously identified. On the first prong, though



 2
   The Defendants hereby also incorporate and reassert all prior arguments made in opposition to
 the Original Motions. (ECF Nos. 14, 18, 20.)


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 changing their requested transfer destination to “TAMPA FEDERAL COURT,” Plaintiffs have

 again offered nothing to suggest that this matter could have been filed there or anywhere other

 than Miami-Dade County. As with the Pinellas transfer sought in the Original Motions, none of

 the parties are located in Tampa or Hillsborough County, nor is the real property in question

 located there, nor did any of the alleged events occur there. Accordingly, there is no reason to

 conclude that any court in the Tampa Division of the U.S. District Court for the Middle District of

 Florida would have jurisdiction over these proceedings or that venue before such a court would be

 proper. See, for example, 28 U.S.C. § 1391(b). Likewise, as shown by this filing, the Defendants

 oppose any such transfer.

        Based on that defect alone, Plaintiffs may not transfer venue, but Plaintiffs have

 additionally, and yet again, failed to provide any allegations, much less evidence, to satisfy the

 second prong of the test. Plaintiffs have not pointed to a single witness, record, or party located

 in Tampa, nor even suggested that such exist. In fact, none of the alleged events underlying the

 Plaintiffs’ pleadings occurred in the Tampa Division of the Middle District, nor does it have any

 connection to the subject real property, the persons named in this dispute, or the voluminous prior

 litigation brought by and involving the Plaintiffs, including the instant case, which like all prior

 actions, was filed in courts located in Miami-Dade County.

        As for justice, Plaintiffs’ only arguments are that the local media is biased and has

 published negative articles about them and that courts and judges in Broward and Miami-Dade are

 also biased against them, and so they will not receive a fair trial compared to in Tampa. In this

 regard, Plaintiffs almost appear to be making an argument under Fed. R. Crim. P. 21 concerning

 possible juror prejudice. Regardless, their arguments are plainly deficient, with one impartial news

 article and prior rulings by different state and federal judges hardly demonstrating actual or




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 identifiable prejudice in these proceedings or prejudice that is widespread and pervasive in the

 community, inflammatory pervasive pre-trial publicity, or that there is a reasonable certainty that

 the prejudice in question would prevent Plaintiffs from receiving a fair trial. See United States v.

 Campa, 459 F.3d 1121, 1150 (11th Cir. 2006); Provenzano v. Singletary, 3 F.Supp.2d 1353, 1362–

 63 (M.D. Fla. 1997), aff'd, 148 F.3d 1327 (11th Cir. 1998); United States v. Hernandez, 106

 F.Supp.2d 1317, 1319 (S.D. Fla. 2000). Moreover, even if Plaintiffs had articulated some basis

 for prejudice, given that all the other factors for the second prong favor this Court remaining as

 the forum for this dispute, any concerns about unfairness can easily be resolved at voir dire. Id.;

 see also Bell v. Rock-Tenn, No. 2:14CV1167-MHT, 2015 WL 1120271, at *4–5 (M.D. Ala. Mar.

 12, 2015).

        With Plaintiffs having made no attempt to satisfy any of the required factors and

 evidentiary burdens for transferring this matter to the Tampa Division of the U.S. District Court

 for the Middle District of Florida, the Defendants respectfully request that the Plaintiffs’ Corrected

 Motion be denied along with the Original Motions, which remain pending in this action.

        WHEREFORE, the Defendants, respectfully request the entry of an order denying the

 Plaintiffs’ Original and Corrected Motions to transfer venue (ECF Nos. 11, 12, 15, 21), along with

 granting any and all additional relief this Court deems just and proper.

        Submitted September 23, 2024

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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 23, 2024, a true and correct copy of the foregoing

 was filed electronically and was sent by e-mail from the Florida Courts’ E-Filing Portal system

 and via U.S. Mail on all counsel or parties of record listed below:

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